                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              )   Case Number 3:22-cr-00282
                                                 )   JUDGE RICHARDSON
 [1] GLEN CASADA                                 )
 [2] CADE COTHREN                                )


                                            ORDER


       The Court will hold a telephonic conference on November 29, 2023, at 1:00 p.m.

regarding the pending defense motions.

       Counsel may access the conference call by dialing 877-402-9757. When prompted, enter

the access code of 3785916 followed by the pound (#) sign. If you have any issues connecting,

please call Chambers at (615) 736-5291. As these are public proceedings, other persons may access

the conference call in the same manner.



       IT IS SO ORDERED.

                                            ____________________________________
                                            ELI RICHARDSON
                                            UNITED STATES DISTRICT JUDGE




  Case 3:22-cr-00282       Document 97        Filed 11/27/23     Page 1 of 1 PageID #: 646
